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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                        X


UNITED STATES OF AMERICA                                INFORMATION


       - against -                                      19CR338(BMC)
                                                        (T. 7,U.S.C.,§ 13(a)(2))
COREY FLAUM,


                         Defendant.




THE UNITED STATES OF AMERICA CHARGES:


                                          COUNT ONE
                                (Attempted Price Manipulation)

        1.     From approximately April 2006 until approximately May 2008, the defendant,

COREY FLAUM, was employed as a precious metals trader at the headquarters of a global

financial institution that was based inNew York,New York("Bank A"). From approximately June

2008 until approximately July 2016,FLAUM was employed as a precious metals trader at the New

York office of a global financial institution that was based in Toronto, Ontario, Canada

("BankB").

       2.      From approximately June 2007 until approximately July 2016 (the "Relevant

Period"), in the Eastern District of New York and elsewhere, at least in part for the benefit of

Banks A and B,FLAUM knowingly and intentionally manipulated and attempted to manipulate

the price of certain commodities for future delivery, namely precious metals futures contracts, on

or subject to the rules of a registered entity, including the New York Mercantile Exchange, Inc.

and Commodity Exchange, Inc.
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